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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN DISTRICT OF TEXAS

                                    BEAUMONT DIVISION

BRETT MICHAEL BLASIRUE                          §

VS.                                             §            CIVIL ACTION NO. 1:16-CV-288

DALLAS JONES                                    §

                                     FINAL JUDGMENT

       This action came on before the Court, Honorable Thad Heartfield, District Judge, presiding,

and, the issues having been considered and a decision having been rendered, it is

       ORDERED and ADJUDGED that this petition for writ of habeas corpus is DISMISSED.

All motions not previously ruled on are DENIED.

       SIGNED this the 23 day of January, 2017.




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                                     Thad Heartfield
                                     United States District Judge
